Covenant. — At the last term, the defendant obtained one month to plead — pleading issuably. The defendant pleaded covenants performed generally, and covenants performed specially; to the first plea there was a replication and issue; to the second, a replication; but no issue until this term, when the plaintiff joined issue.
DICKINSON, e contra, urged that it would be attended with mischievous consequences if the defendant was permitted to evade the order, allowing *Page 191 
time to plead in this manner. He was bound to plead issuably, so as not to delay the trial; and he certainly will not now be permitted to tell this court that in consequence of his non-compliance with the order he claims a further day for the trial. Rich. Pr. 106 shows what pleas are good under such an order. It is not necessary that it should be the general issue; the statute of limitations has been considered as an issuable plea.
Both parties seem to have considered the second plea which is now in contest, as complying with the order. The Court, since issue is joined, must consider it as having been offered in that view. The plaintiff by replying to it shows that he considered it so; otherwise, if not issuable, he might have treated it as a nullity, and taken judgment by default. An issue is now joined on this plea, and must be considered as having been formed under the authority of the order of last term. This is not similar to the case of Lucas v.
Sevier.1
Let the jury be sworn.
1 See 5 T. 157; 3 N. Y. T. 131; 1 Crom. Pr. 307 to 311.